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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No.: 21-cr-108 (PAM/TNL) (3)



UNITED STATES OF AMERICA,              )
                                       )
                            Plaintiff, )
vs.                                    )            DEFENDANT’S PRETRIAL
                                       )            MOTION FOR DISCOVERY
J ALEXANDER KUENG,                     )               AND INSPECTION
                                       )
                            Defendant. )
                                       )
                                       )


       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the Defendant, J

Alexander Kueng, by and through the undersigned attorney moves this Court for an order

requiring the government to permit defense counsel to inspect, copy, photograph, or

scientifically analyze the following items within the possession, custody, or control of the

government, the existence of which is known or shall become known to the government

by the exercise of due diligence:

       1. All oral, written, or otherwise recorded statements made by the Defendant,
          inculpatory or exculpatory, including recorded grand jury testimony.
       2. All books, papers, documents, photographs, tangible objects, buildings or
          places, or copies or portions thereof.
       3. The results or reports of physical or mental examinations and of scientific tests
          or experiments (including polygraph examinations), or copies thereof.
       4. A list of the names and addresses of all witnesses known to the government
          who have knowledge of the facts of this case.
       5. The record of prior criminal convictions of witnesses intended to be called by
          the government.
       6. All evidence obtained as a result of a search and seizure indicating the time,
          place, and circumstances under which the searches and seizures were
          conducted.
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      The requests contained herein include a continuing duty to disclose if, prior to or

during trial, the government discovers additional evidence or material previously

requested or ordered which is subject to discovery or inspection under Rule 16.

      This Motion is based upon all the files, records, and proceedings herein.




                                            Respectfully submitted,

Dated: August 2, 2021                       /s/ Thomas C. Plunkett
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